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                     UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MASSACHUSETTS

 ______________________________
 IN RE:                          )
                                 )
 Marianna Luisa DiMarco Cavuoto, )
 and Angelo Cavuoto              )
                    Debtors      )           CHAPTER 13
                                 )           DOCKET NUMBER: 18-12622
 ______________________________)


             DEBTORS’ MOTION TO VACATE DISMISSAL


        Now come the Debtors and moves this Honorable Court to vacate the order of
 dismissal [Doc. #23]. In support of this motion, Debtors state the following:

        1.      The failure to comply with the Court’s Order to Update of July 11, 2018
 [Doc. #9] was an unfortunate oversight.

         2.      The Debtors have attached hereto as Exhibit A, the Evidence of Insurance
 for said vehicles.

        WHEREFORE, the Debtors respectfully request that this Honorable Court vacate
 the dismissal.


                                             Debtors,
                                             By their attorney

                                             /s/ Lawrence A. Simeone, Jr., Esq.
                                             Lawrence A. Simeone, Jr., Esq.
                                             Law Office of Lawrence A. Simeone, Jr.
                                             300 Broadway, P.O. 321
                                             Revere, MA 02151
 Dated: July 31, 2018                        (781) 286-1560
                                             BBO# 552605
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                               CERTIFICATE OF SERVICE

        I, Lawrence A. Simeone, Jr. Esq. hereby certify that I served a copy of the foregoing
 via ECF Filing and/or first class mail on counsels of record:


 Carolyn Bankowski, Trustee
 Office of the Chapter 13 Trustee
 P.O.Box 8250
 Boston, MA 02114

 John Fitzgerald
 Office of the US Trustee
 J.W. McCormack Post Office & Courthouse
 5 Post Office Sq., 10th Fl, Suite 1000
 Boston, MA 02109

 Shellpoint Mortgage
 55 Beattie Place
 Suite 300
 Greenvile, SC 29601

 Shamrock Mortgage
 116 Topsfield Road
 Wenham, MA 01834


                                                       /s/ Lawrence A. Simeone, Jr.
                                                       Lawrence A. Simeone, Jr.
 Dated: July 31, 2018
